                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                         Plaintiff,

        v.                                                      Case No. 10-CR-0163

ARMANDO ADAME-ALVARADO,

                         Defendant.


                                              ORDER


        Counsel for the defendant Armando Adame-Alvarado has requested a postponement of the

sentencing and the deadline for filing objections to the PSR. He indicates that he has a planned

vacation with his wife and would be unable to meet with his client and an interpreter and go over

the presentence report before the time for objections as it currently stands.

        Counsel’s motion will be granted, if necessary, but at this point it seems premature.

Counsel should plan on enjoying his vacation and meeting with his client as soon thereafter as

possible. If there are objections or he needs an extension for any other reason, the request will be

granted. However, the Court is reluctant to move the sentencing at this time until it becomes clear

that it is necessary.

        SO ORDERED this           22nd   day of August, 2011.



                                               s/ William C. Griesbach
                                               William C. Griesbach
                                               United States District Judge



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